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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 MARIE JOSEPH                                               Case No. 1:16-cv-00465-TSB

        Plaintiff,

 v.                                                           NOTICE OF APPEAL

 RONALD JOSEPH, GREGORY G.
 JOSEPH, GEORGE R. JOSEPH, RICHARD
 S. JOSEPH, and RONALD JOSEPH, JR.

        Defendants.



       Pursuant to Rules 3 and 4 of the Federal Rules of Appellate Procedure, Plaintiff Marie

Joseph hereby provides notice to Defendants Ronald Joseph, Gregory G. Joseph, George R.

Joseph, Richard S. Joseph, and Ronald Joseph, Jr. that, in addition to the judgments and orders

from which Plaintiff previously appealed by the Notice of Appeal filed with the Court on April 16,

2019 (Doc. 237) (which is incorporated herein by reference), Plaintiff appeals to the United States

Court of Appeals for the Sixth Circuit from the Order: (1) Granting Defendant’s Motion for

Summary Judgment on Plaintiff’s Access to Corporate Records Claim; and (2) Denying Plaintiff’s

Cross-Motion for Summary Judgment, entered by the Court on November 25, 2019 (Doc. 250),

the Judgment in a Civil Action entered by the Court on November 25, 2019 (Doc. 251), and any

adverse orders, rulings, decrees, decisions, and opinions entered in this case.
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                                          Respectfully submitted,
                                           /s/ Kevin L. Murphy
                                          Kevin L. Murphy (0021810)
                                          J. Jeffrey Landen (0018174)
                                          Nicholas R. Gregg (0095731)
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                                          Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE
       I certify that on December 23, 2019, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send notice to all counsel of record.


                                                    /s/ Kevin L. Murphy
                                                    Kevin L. Murphy




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